                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )           No. 3:12-00055
                                                   )           JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE                                )
JAMES BENJAMIN LEE                                 )

                                               ORDER

         Pending before the Court is Defendant Lee’s Renewed Motion For Early Disclosure Of

Jury Questionnaire And Jury List (Docket No. 89). Through the Motion, the Defendant seeks

early disclosure of jury panel information as permitted prior to the previous trial.

         The Motion is GRANTED as follows: The Court will hold a hearing on May 1, 2013, at

1:00 p.m. to distribute a “Qualified Pool” Report of possible prospective jurors for the trial to be

held on May 7, 2013. The Defendants and counsel shall attend the hearing.

         The juror information contained in the Report shall be used only for purposes of jury

selection and for no other purpose. The hard copies of the Report, and any additional copies,

shall be returned to the Courtroom Deputy once a jury is sworn. No attorney or party, or their

agents, may contact potential jurors, directly or indirectly, in this case.

         It is so ORDERED.



                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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